UNITED STATES DISTRICT COURT

DISTRICT OF VERMONT
UNITED STATES OF AMERICA ) CASE NO. 2:22-cr-00109
)
Vv. )
)
MICHAEL COTTER, )
Defendant. )

DEFEDANT’S SUPPLEMENT TO MOTION TO SET CONDITIONS OF RELEASE

NOW COMES Defendant, Michael Cotter, by and through his attorney, Mark D.
Oettinger, and hereby respectfully moves that he be allowed to return to residential treatment at
Live Free Recovery, a 30—45-day program, in Keene, New Hampshire, to be followed by living
with his mother, Sandra Cotter, in South Acworth, New Hampshire, until a sober living bed here
in the Burlington area becomes available...all with the goal of allowing him to participate in the
Burlington-based Federal Drug Court. Michael is currently on two sober housing waiting lists...
First Step Recovery and Vermont Foundation for Recovery.

As the Court is aware, Mr. Cotter continues to struggle with his addiction to illicit
substances. He acknowledges the power and control that drug use has had over his life. Clearly,
he needs a brand new, previously untried plan, in order to maintain sobriety. That is why we are
proposing a longer residential treatment program, to be followed by sober living, and
participation in the Burlington Drug Court. In the meantime, Mr. Cotter is fortunate to have the
support of his mother, Sandra Cotter, who is a licensed drug and alcohol counselor.

Live Free Recovery uses a patient-focused approach, which allows for the individualization
of the services which are provided to those who come into their care. They focus on the
transformational supports and tools that their rehab patients, like Mr. Cotter, need in order to help
them achieve and maintain recovery. Defense counsel has conferred with Live Free Recovery,
which has authorized us to represent to the Court that Mr. Cotter is welcome to return directly to
their facility, if the Court sees fit to release him from custody. In that event, he would be
transported by his mother, who attended the October 13, 2023 change of plea hearing.

Ultimately, Mr. Cotter would like to live in sober housing that offers both AA and NA,
while attending the Burlington-based Federal Drug Court, and (consistent with his other conditions
of release) working within the community.
In accordance with United States District Court, District of Vermont, Local Rule of
Procedure 7(a)(7), defense counsel has consulted with AUSA Zachary Stendig, who supports
Federal Drug Court (see Paragraph 12(b) of the Plea Agreement) for Mr. Cotter on the condition
that he can arrange suitable sober housing.

The only remaining impediment to a smooth transition for Mr. Cotter into treatment,
sober living and Drug Court, is a Windsor County warrant which arose out of a DUI charge that
Mr. Cotter incurred following his earlier release in the instant case. He failed to appear in
Windsor County because he had been re-arrested on the instant charges for failure to abide by his
conditions of release. Defense counsel has been in touch with State’s Attorney Ward
Goodenough regarding the status of the Windsor County DUI case, and he has connected Mr.
Goodenough with AUSA Stendig. On information and belief, the Windsor County warrant
either has been...or will be...withdrawn or cancelled prior to Mr. Cotter’s hoped-for release on
conditions. On the other hand, if that should prove impossible without a physical appearance by
Mr. Cotter in the Windsor Criminal Division, then Mr. Cotter will go there and address the
warrant promptly upon release, consistent with any and all conditions of release that might be set
by the Court.

For the reasons stated above, Defendant Michael Cotter respectfully requests that
the Court set conditions of release allowing him to return to Live Free Recovery in
Keene, New Hampshire, starting directly upon his release from custody, to be followed
by residing with his mother, Sandra Cotter, in South Acworth, New Hampshire, until a
sober living bed here in the Burlington area becomes available, and otherwise abiding by
the conditions set by the Court and the United States Probation Office.

DATED at Burlington, Vermont this 26th day of October, 2023.

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